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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                         :
 UNITED STATES OF AMERICA,                                               :
                                                                         :   Case No. 19 Cr. 366 (LGS)
            - against -                                                  :
                                                                         :   NOTICE OF MOTION
 STEPHEN M. CALK,                                                        :
                                                                         :
                                Defendant.                               :
                                                                         :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                    PLEASE TAKE NOTICE that upon the Declaration of Paul H. Schoeman, Esq.,

dated October 23, 2020, the accompanying Memorandum of Law, and all prior papers and

proceedings in this action, the defendant Stephen M. Calk, by his undersigned attorneys, will

move this Court before the Honorable Lorna G. Schofield, United States District Judge, at the

United States Courthouse for the Southern District of New York, at a date and time to be

determined by the Court, for an order precluding the testimony of the government’s proposed

expert witnesses, and for any other relief as the Court may deem just and proper.

                    Defendant respectfully requests oral argument in connection with this motion.


Dated: New York, New York                                    Respectfully submitted,
       October 23, 2020

                                                             KRAMER LEVIN NAFTALIS & FRANKEL LLP

                                                             By: /s/ Paul H. Schoeman
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